  AO 247 (02/08) Case    6:96-cr-00007-BAE-GRS
                 Order Regarding Motion for Sentence Reduction   Document 293 Filed 11/12/08 Page 1 of 1

                                      UNITED STATES DISTRICT                                CQJ1                          COURT
                                                  for the                                                S,\•             DIV.
                                                          Southern District of Georgia
                                                             Statesboro Division                                 t 2 P11 12: J I
                    United States of America                          )
                               V.                                     )                           CLEII^ P—.--L
                                                                      )   Case No: CR696-00002 DiET' OF GA.
                          Heriberto Cosme
                                                                      )   USMNo: 09328-021
Date of Previous Judgment: May 9, 1997                                )   Dwight Jay Stewart
(Use Date ol' Last Amended Judgment if Applicable)                    )   Defendant's Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of       J the defendant     the Director of the Bureau of Prisons  the court under 18 U. S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
         DENIED.         GRANTED and the defendant's previously imposed sentence of imprisonment (as retlected in
                     the last judgment issued) of ________________ months is reduced to ________________________

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:        34                 Amended Offense Level:     34
Criminal History Category:      I                 Criminal History Category:  •1
Previous Guideline Range:  151    to 188 months   Amended Guideline Range 151 to 188 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
    The reduced sentence is within the amended guideline range.
R The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
    of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
    amended guideline range.
 J Other (explain):

III. ADDITIONAL COMMENTS
The defendant is presently serving a period of incarceration based on the revocation of his term of supervised release.
Pursuant to U.S.S.G. § lB 1.10, Application Note 4(A), only a term of imprisonment imposed as part of the original
sentence is authorized to be reduced. This section does not authorize a reduction in the term of imprisonment
imposed upon revocation of supervised release.


Except as provided above, all provisions of the judgment dated May 9, 1997,                                shall remain in effect.
IT IS SO ORDERED.                                                                                                                    -

Order Date                             30 (                               1Y//IY                   Judge's sin


                                                                          B. Avant Edenfield
Effective Date:                                                           United States District Judge
                                                                          For the Southern District of Georgia
                     (if different from order date)                                              Printed name and title
